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                             IN THE UNITED STATES DISTRICT COURT
                                      DISTRICT OF ALASKA
COASTAL MARINE FUND,                            )
                                                )
                        Plaintiff,              )
                                                )
v.                                              )
                                                )
JOHN P. LYMAN,                          )
                                        )               Case No. 3:11-cv-00211-JWS
                    Defendant.          )
_______________________________________)

                                 STIPULATION OF DISMISSAL

        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), all parties who have appeared
in this action stipulate that the entire case may be dismissed with prejudice, the parties to bear their
respective costs and fees.
        Dated: December 17, 2014                        s/ Mark C. Manning
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                                                         s/ Rebecca Lindemann (w/ consent)
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